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                        Exhibit I
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        1                   UNITED STATES DISTRICT COURT
        2         FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA
        3                          CHARLESTON DIVISION
        4
             __________________________________________________
        5
             IN RE: COLOPLAST CORP.,                          MDL No. 2387
        6    PELVIC SUPPORT SYSTEMS
             PRODUCT LIABILITY LITIGATION
        7    __________________________________________________
        8
                                   HIGHLY CONFIDENTIAL
        9
       10                   Video 30(b)(6) Deposition of
                                       DALE R. KLOUS,
       11                as a designee of COLOPLAST CORP.
                                Tuesday, April 16, 2019
       12                                  9:15 a.m.
       13
       14
       15
       16
       17
       18
       19
       20    Stenographic Reporter:
             Patrick J. Mahon, RMR, CRR
       21    Job No.: 210397
       22
       23                    GOLKOW LITIGATION SERVICES
                        877.370.3377 ph / 917.591.5672 fax
       24                            deps@golkow.com

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                                                                         Page 91
       ·1· ·general matter, do you agree with that as well?

       ·2· · · · · MR. WOO:· Object to the form.

       ·3· · · ·A· I would agree with the higher level.

       ·4· ·There are systems that rate clinical studies,

       ·5· ·clinical evidence, provide clinical evidence

       ·6· ·levels, but a low-level clinical study could be a

       ·7· ·high quality study.

       ·8· ·BY MR. KIEFFER:

       ·9· · · ·Q· Okay.· Let me see if I can ask the

       10· ·question a bit differently.· A low level -- let's

       11· ·call it low-level clinical evidence.· Okay?

       12· · · ·A· Okay.

       13· · · ·Q· And I'm going to ask you about a document

       14· ·here in a second.· I'm just trying to define some

       15· ·terms at the moment.· Okay?

       16· · · ·A· Sure.

       17· · · ·Q· Low-level clinical evidence, you believe,

       18· ·could still be of a high quality?

       19· · · ·A· Yes.

       20· · · ·Q· Okay.· But with that in mind, low-level

       21· ·clinical -- high quality low-level clinical

       22· ·evidence may not be of as great of value, for

       23· ·example, to the medical community as high level

       24· ·high quality clinical evidence; true?

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                                                                         Page 92
       ·1· · · · · MR. WOO:· Object to the form.

       ·2· · · ·A· I would not agree with that statement.

       ·3· ·BY MR. KIEFFER:

       ·4· · · ·Q· You would not?

       ·5· · · ·A· No.

       ·6· · · ·Q· Okay.· Tell me why you would not?

       ·7· · · ·A· Well, as an example, observational

       ·8· ·clinical studies are considered low-level clinical

       ·9· ·evidence.· However, FDA recognizes the value of an

       10· ·observational study, and I believe that the

       11· ·medical community as well recognizes the value.

       12· ·The value of an observational study, a registry,

       13· ·for instance, is that it represents the real

       14· ·world.· It represents the performance of a device

       15· ·within the real world.· Whereas, a high level

       16· ·clinical study, like a prospective randomized

       17· ·controlled study, would reflect the performance of

       18· ·the device within that context.· So, again, I

       19· ·believe that all data is relevant.

       20· · · ·Q· Okay.· It's not your testimony, is it,

       21· ·that registry data is superior to a prospective

       22· ·randomized controlled clinical data?· That's not

       23· ·what you're testifying, is it?

       24· · · ·A· I'm not sure how you're defining

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                                                                        Page 104
       ·1· ·increasingly definitive as one moves from one

       ·2· ·level to the next?

       ·3· · · ·A· No, I don't believe that.

       ·4· · · ·Q· Okay.· What do you take issue with in this

       ·5· ·graphic?

       ·6· · · ·A· Well, it appears that this document is

       ·7· ·from 1996, at least that's the only date that I

       ·8· ·see on the document.· And as I was describing

       ·9· ·previously, there's increasing appreciation across

       10· ·the medical community as well as across the

       11· ·various regulatory bodies, including FDA, that

       12· ·case studies, observational studies, real world

       13· ·data is of importance because it reflects the use

       14· ·of the product within the real world.· Certainly,

       15· ·higher level clinical evidence is important.· It

       16· ·plays a role.· But as I stated previously, and I

       17· ·believe this to be consistent with the

       18· ·interpretation of clinical evidence today, broadly

       19· ·today, is that all data is relevant.

       20· · · ·Q· Let me follow up on something you just

       21· ·said.· You said you believe there is increasing

       22· ·belief that real world experience in the form of

       23· ·things like case reports has relevance?

       24· · · ·A· A registry, observational studies, a

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                                                                        Page 105
       ·1· ·registry, yes.

       ·2· · · ·Q· Okay.· And you said the reason you believe

       ·3· ·that is because it represents real world

       ·4· ·experience; true?

       ·5· · · ·A· Yeah, and that's -- I was stating what FDA

       ·6· ·has stated within a recent guidance document.

       ·7· · · ·Q· All right.

       ·8· · · ·A· Yeah.

       ·9· · · ·Q· And you refer to this as observational

       10· ·registry data?

       11· · · ·A· Yes.

       12· · · ·Q· Which you also called real world data?

       13· · · ·A· Real world data, correct.

       14· · · ·Q· And you believe that has value?

       15· · · ·A· I do.

       16· · · ·Q· Okay.· Now, that assumes that the data is

       17· ·being captured thoroughly and honestly analyzed

       18· ·and reported publicly in a way that healthcare

       19· ·providers and patients have it available to you;

       20· ·correct?

       21· · · ·A· All studies would rely on proper study

       22· ·conduct.· So you had -- there were two parts of

       23· ·your question that weren't necessarily linked.

       24· ·One had to do with the study of methodologies or

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                                                                        Page 135
       ·1· · · ·A· Not -- not -- no, not in terms of a

       ·2· ·transobturator sling.

       ·3· · · ·Q· What does "MUS" stand for?

       ·4· · · ·A· Midurethral sling.

       ·5· · · ·Q· Okay.· That's a much broader category than

       ·6· ·just the transobturators?

       ·7· · · ·A· It is.

       ·8· · · ·Q· And they have highlighted these bodies,

       ·9· ·have highlighted the lack of long-term outcomes

       10· ·data for MUS slings in general, according to this?

       11· · · ·A· That's what I see stated here, yes.

       12· · · ·Q· Okay.· And, again, were you aware of that

       13· ·before we just started looking at it?

       14· · · ·A· I do not know how the term "long-term" is

       15· ·being used within Dr. Abdel-fattah's definition,

       16· ·or how "long-term" is being used within the NICE

       17· ·guidelines or the SCENIHR report.· Um...

       18· · · ·Q· Okay.· Earlier, I believe --

       19· · · · · MR. WOO:· I'm sorry, were you done with

       20· ·your answer?

       21· · · ·A· I was going to say, I recalled--I'm not

       22· ·100% positive--that SCENIHR defined "long-term" as

       23· ·over five years.· But medical societies and FDA

       24· ·consider these products to be safe and effective

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                                                                        Page 136
       ·1· ·and consistent with the gold standard treatment

       ·2· ·for stress urinary incontinence.

       ·3· ·BY MR. KIEFFER:

       ·4· · · ·Q· Okay.· I'm going to move to strike that,

       ·5· ·because that's really not responsive to my

       ·6· ·question.

       ·7· · · · · My question, and then I'll move to the

       ·8· ·next one in this document, is, prior to reading

       ·9· ·this document with me over the last few minutes,

       10· ·this study by Dr. Abdel-fattah that Coloplast

       11· ·supported, were you aware of the fact that the

       12· ·National Institute for Health and Clinical

       13· ·Excellence in the U.K., the Cochran review and the

       14· ·European review on surgical meshes in

       15· ·urogynecological surgery had all highlighted the

       16· ·lack of long-term outcomes data for midurethral

       17· ·slings in general and TO-TVT in particular?

       18· · · · · MR. WOO:· Object to the form.

       19· · · ·A· What I see is that they -- or

       20· ·Dr. Abdel-fattah identifies a paucity of data,

       21· ·which does not mean that there is a lack of data.

       22· ·BY MR. KIEFFER:

       23· · · ·Q· I'm just reading the words in the article.

       24· ·He says:· These bodies, quote, "have all

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       ·1· ·with the most significant investment in year 2."

       ·2· ·Do you see that?

       ·3· · · ·A· (Reviewing.)· Yes, I do see that.

       ·4· · · ·Q· Okay.· I think earlier in the day, you may

       ·5· ·have said that you personally would tend to think

       ·6· ·of a clinical trial of three years or more as

       ·7· ·perhaps representing a long-term trial; correct?

       ·8· · · ·A· A clinical trial that has a three-year

       ·9· ·endpoint is considered long-term.

       10· · · ·Q· Okay.

       11· · · ·A· And it's a definition from FDA.

       12· · · ·Q· Okay.· It goes on to state here in the

       13· ·next subheading, "Benefits associated with high

       14· ·quality clinical studies."· Do you see that

       15· ·subheading?

       16· · · ·A· Yes, I do.

       17· · · ·Q· And the third bullet says, "Design

       18· ·validation in humans to guarantee product safety

       19· ·and quality."· Do you see that?

       20· · · ·A· Yes, I do see that.

       21· · · ·Q· All right.· You agree that it is important

       22· ·for a company like Coloplast to undertake the

       23· ·appropriate testing of its products to guarantee

       24· ·to the fullest extent possible the safety and the

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                                                                         Page 372
       ·1· ·Coloplast.

       ·2· · · ·Q· And was that also in order to get familiar

       ·3· ·with your new position?

       ·4· · · ·A· Correct.

       ·5· · · ·Q· Have you reviewed the Altis publications

       ·6· ·more recently than that?

       ·7· · · ·A· In preparation for this meeting.

       ·8· · · ·Q· Are all of the Altis publications that you

       ·9· ·reviewed, are they contained in the notebook in

       10· ·front of you?

       11· · · ·A· Yes.

       12· · · ·Q· How many times has data on Altis been

       13· ·presented or published?

       14· · · ·A· 27 times.

       15· · · ·Q· And have you added up all of the different

       16· ·women involved in these studies, being careful not

       17· ·to double count?

       18· · · ·A· Yes, I have, and there are over 500 women

       19· ·involved in these studies.

       20· · · ·Q· Based on your review of the Altis

       21· ·literature, what are the overall results of that

       22· ·literature?

       23· · · ·A· That the product is safe and associated

       24· ·with high degrees of efficacy.

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                                                                         Page 373
       ·1· · · ·Q· Again, Plaintiff's counsel was asking

       ·2· ·about premarket clinical studies.· Was there human

       ·3· ·clinical evidence available on Altis before it was

       ·4· ·sold in the U.S.?

       ·5· · · ·A· Yes, there was.

       ·6· · · ·Q· What study was that?

       ·7· · · ·A· That was the Altis IDE study, an

       ·8· ·investigational study that was conducted under the

       ·9· ·review of FDA.

       10· · · ·Q· And did the FDA review the protocol for

       11· ·the Altis IDE before that study was undertaken?

       12· · · ·A· Yes.· They reviewed it and approved it.

       13· · · ·Q· Did they review the results of the Altis

       14· ·IDE after it had been finished?

       15· · · ·A· Yes.

       16· · · ·Q· Did they do so before clearing the

       17· ·product?

       18· · · ·A· Yes.

       19· · · ·Q· Thank you.· You can put that aside.

       20· · · · · And if you could open up the notebook that

       21· ·contains the Novasilk-Exair studies.· Now, you're

       22· ·familiar with the Novasilk and Exair products?

       23· · · ·A· Yes, I am.

       24· · · ·Q· What do those products treat?

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